Case 18-10120-elf      Doc 14     Filed 02/15/18 Entered 02/15/18 14:35:02            Desc Main
                                  Document      Page 1 of 2



                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                                    :
                                          : Case No.: 18-10120
Adam L Williams                           : Chapter 13
                                          : Judge Eric L. Frank
                                Debtor(s) : * * * * * * * * * * * * * * * * * * *
                                          :
The Bank of New York Mellon, f/k/a The : Date and Time of Hearing
Bank of New York, successor in interest : Place of Hearing
to JPMorgan Chase Bank, N.A. as           : March 20, 2018 at 01:00 p.m.
Trustee for Bear Stearns Asset Backed     :
Securities Trust 2006-2, Asset-Backed     : U.S. Bankruptcy Court
Certificates, Series 2006-2               : 900 Market Street, Courtroom #1
                                 Movant, : Philadelphia, PA, 19107
       vs                                 :
                                          :
Adam L Williams                           :
                                          :
                                          :
William C. Miller
                                          :
                            Respondents.

  MOTION OF THE BANK OF NEW YORK MELLON, F/K/A THE BANK OF NEW
   YORK, SUCCESSOR IN INTEREST TO JPMORGAN CHASE BANK, N.A. AS
  TRUSTEE FOR BEAR STEARNS ASSET BACKED SECURITIES TRUST 2006-2,
 ASSET-BACKED CERTIFICATES, SERIES 2006-2 FOR AN ORDER CONFIRMING
     THE INAPPLICABILITY OF THE AUTOMATIC STAY PURSUANT TO
                        11 U.S.C. § 362(C)(3)(A)

       The Bank of New York Mellon, f/k/a The Bank of New York, successor in interest to

JPMorgan Chase Bank, N.A. as Trustee for Bear Stearns Asset Backed Securities Trust 2006-2,

Asset-Backed Certificates, Series 2006-2 ("Creditor") by and through undersigned counsel and

respectfully moves this Court for an Order confirming that the stay imposed by § 362(a) of the

Bankruptcy Code is not in effect in the Current Case (as defined below). In support of this

motion, the Movant avers as follows:

  1. That on January 8, 2018, Adam L Williams (''Debtor'') filed a filed a Chapter 13

      bankruptcy case (the “Current Case”).


18-001347_SCS2
Case 18-10120-elf       Doc 14       Filed 02/15/18 Entered 02/15/18 14:35:02         Desc Main
                                     Document      Page 2 of 2


  2. That within the preceding year, the following bankruptcy cases, which were filed by or

      against Debtor (individually, a “Prior Case”), were pending:

       Case Number                    Date of Dismissal          Basis of Dismissal

       16-14395                          8/24/17          Dismissed for failure to make
                                                                  plan payments

  3. That the Current Case is not a Chapter 11, 12, or 13 that has been re-filed after dismissal

      of a Prior Case pursuant to § 707(b) of the Bankruptcy Code.

  4. Debtor has not elected to extend the §362 Automatic Stay with respect to all creditors

      pursuant to §362(c)(3)(B).

   WHEREFORE, Creditor prays for an Order from the Court confirming that, pursuant to §

362(c)(3)(A) of the Bankruptcy Code, the stay imposed by § 362(a) of the Bankruptcy Code is

not in effect in the Current Case.



                                                     Respectfully submitted,


                                                       /s/ Karina Velter
                                                     Karina Velter, Esquire (94781)
                                                     Kimberly A. Bonner (89705)
                                                     Adam B. Hall (323867)
                                                     Sarah E. Barngrover (323972)
                                                     Manley Deas Kochalski LLC
                                                     P.O. Box 165028
                                                     Columbus, OH 43216-5028
                                                     Telephone: 614-220-5611
                                                     Fax: 614-627-8181
                                                     Attorneys for Creditor
                                                     The case attorney for this file is Karina
                                                     Velter.
                                                     Contact email is kvelter@manleydeas.com




18-001347_SCS2
